
745 N.W.2d 830 (2007)
In the Matter of the Welfare of the Children of S.E.P. and J.W.P., Parents.
No. A07-25.
Supreme Court of Minnesota.
December 3, 2007.

ORDER
Based upon all the files, records and proceedings herein,
IT IS HEREBY ORDERED that the decision of the court of appeals filed August 7, 2007, reversing termination of S.E.P.'s parental rights is reversed. Opinions will follow. The Clerk of Appellate Courts shall enter judgment immediately. We retain limited jurisdiction solely for the purpose of the subsequent filing of the opinions in the case.
BY THE COURT:
/s/ Russell A. Anderson
Chief Justice
ANDERSON, PAUL H., J., concurs.
PAGE, J., dissents.
HANSON, J., took no part in the consideration or decision of this matter.
